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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


Civil Action No. 25-cv-00203-RTG

CARL LLOYD SHEELER,

      Plaintiff,

v.

U.S. BANK, National Association, as Trustee of Cabana Series V Trust (“Cabana”), and
      as Trustee of VRMTG Asset Trust (“VRMTG”),
SHELLPOINT, Servicer for the Trusts,
SECURITY NATIONAL SERVICING NATIONAL CORPORATION (“SNSC”),
MORTGAGE ELECTRONIC REGISTRATION SYSTEM (“MERS”),
RELIABLE LENDING SERVICES, LLC (“RELIABLE”), and
ALPINE BANK, et al.,

      Defendants.


                              ORDER DENYING MOTION


      This matter is before the Court on “Plaintiff’s Emergency Ex-Parte Motion for

Temporary Restraining Order” (ECF No. 2) filed pro se by Plaintiff on January 21, 2025.

The Court must construe the motion liberally because Plaintiff is not represented by an

attorney. See Haines v. Kerner, 404 U.S. 519, 520-21 (1972); Hall v. Bellmon, 935 F.2d

1106, 1110 (10th Cir. 1991). However, the Court should not be an advocate for a pro se

litigant. See Hall, 935 F.2d at 1110. For the reasons discussed below, the motion will be

denied.

Background

      Plaintiff alleges he owns real property in Durango, Colorado. In “Plaintiff’s


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Complaint for Damages and Other Statutory Relief” (ECF No. 1), he asserts claims that

relate to foreclosure proceedings in Colorado state court. Plaintiff specifically asserts

the following claims for relief:

       First Cause of Action: Set Aside Judgment of Foreclosure Due to Lack of
       Assignment, Failure to File Correct IRS Forms, Supply Disclosures at Closing,
       Failure to Allow Modification or Purchase of Property Ruing Mr. Sheeler’s Credit
       and Reputation

       Second Cause of Action: Accounting

       Third Cause of Action: Breach of Contract

       Fourth Cause of Action: Breach of the Implied Covenant of Good Faith and Fair
       Dealing

       Fifth Cause of Action: Promissory Estoppel

       Sixth Cause of Action: Negligence

       Seventh Cause of Action: Concealment

       Eighth Cause of Action: False Promise

       Ninth Cause of Action: Fraud, Violation of Fed. Rule 60(b), 11 U.S.C. § 105(a)

       Tenth Cause of Action: Negligent Misrepresentation

       Eleventh Cause of Action: Detrimental Reliance

       Twelfth Cause of Action: Violations of Fair Debt Collection Practices Act
       (FDCPA), 15 U.S.C. §§ 1692-1692p

Plaintiff contends this action is brought “for declaratory judgment, injunctive and

equitable relief, and for compensatory, special, general and punitive damages and to

set aside the Judicial Judgment of Foreclosure due to fraudulent or misleading

documents being filed into the court.” (ECF No. 1 at p.3 ¶5.)



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       As noted above, Plaintiff also has filed a motion (ECF No. 2) seeking a temporary

restraining order. Plaintiff alleges again that he “is facing foreclosure on January 15,

2025,” although he also refers without explanation to January 22, 2025, on the first page

of the motion, and he asks that Defendants be barred “from proceeding with a judicial

foreclosure sale until this case has been concluded in Bankruptcy court.” (ECF No. 2 at

p.27.) Plaintiff asserts his home is unique and non-fungible, and foreclosure and

eviction will cause irreparable injury and substantial harm far outweighing the potential

injury to Defendants. Plaintiff also asks that this case be consolidated with a closely-

related unlawful detainer action, but he does not provide any other information about the

unlawful detainer action.

Motion for Temporary Restraining Order

       Plaintiff’s motion for a temporary restraining order does not comply with Rule 65

of the Federal Rules of Civil Procedure and the Court’s local rules.

       The court may issue a temporary restraining order without written or oral
       notice to the adverse party or its attorney only if: (A) specific facts in an
       affidavit or a verified complaint clearly show that immediate and
       irreparable injury, loss, or damage will result to the movant before the
       adverse party can be heard in opposition; and (B) the movant’s attorney
       certifies in writing any efforts made to give notice and the reasons why it
       should not be required.

Fed. R. Civ. P. 65(b)(1). The Court’s local rules provide that a motion for a temporary

restraining order

       shall be accompanied by a certificate of counsel or an unrepresented
       party, stating: (1) that actual notice of the time of filing the motion, and
       copies of all pleadings and documents filed in the action to date or to be
       presented to the court at the hearing, have been provided to opposing
       counsel and any unrepresented adverse party; or (2) the efforts made by


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       the moving party to provide the required notice and documents. Except as
       provided by Fed. R. Civ. P. 65(b)(1), the court shall not consider an ex
       parte motion for temporary restraining order.

D.C.COLO.LCivR 65.1A.

       Plaintiff fails to provide the required certificate regarding his attempts to furnish

pleadings and/or give notice to the Defendants. Although the court must liberally

construe pro se filings, pro se status does not excuse the obligation of any litigant to

comply with the same rules of procedure that govern other litigants. See Green v.

Dorrell, 969 F.2d 915, 917 (10th Cir. 1992).

       Additionally, Plaintiff fails to set forth specific facts clearly showing that immediate

and irreparable injury, loss, or damage will result before the adverse party can be heard

in opposition. As noted above, Plaintiff apparently seeks to prevent a foreclosure that

already happened on January 15, 2025. Accordingly, it is

       ORDERED that “Plaintiff’s Emergency Ex-Parte Motion for Temporary

Restraining Order” (ECF No. 2) is DENIED.

       DATED: January 28, 2025.

                                           BY THE COURT:


                                           ___________________________________
                                           CHRISTINE M. ARGUELLO
                                           Senior United States District Court Judge




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